                          CASE 0:25-mj-00142-SGE                               Doc. 5            Filed 03/19/25                 Page 1 of 1
                                                     UNITED STATES DISTRICT COURT
                                                         DISTRICT OF MINNESOTA

     UNITED STATES OF AMERICA,
                                                              Plaintiff,
     v.
                                                                                                    Criminal No. 25-mj-142 (SGE)
     JUSTIN DAVID EICHORN,
                                                 Defendant,
                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                              (X)Ad Prosequendum              ( )Ad Testificandum

Name of Detainee: Justin David Eichorn
Detained at (custodian): Hennepin County Jail

The government is requesting the FBI to transport detainee.

Detainee is:            a.)         (X) charged in this district by: Complaint
                                    Charging Detainee With: Attempted Coercion and Enticement of a Minor
            or          b.)         ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on March 20, 2025 at 1:30p.m. in the courtroom of The Honorable Shannon G.
Elkins

Dated: March 19, 2025                                                                           s/ Daniel W.Bobier
                                                                                                Daniel W. Bobier, AUSA

                                                              WRIT OF HABEAS CORPUS

                                             (X)Ad Prosequendum                                          ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.

 March 19, 2025
____________________________________                                                         s/ Shannon G. Elkins
                                                                                             ______________________________________
Date                                                                                         THE HONORABLE SHANNON G. ELKINS
                                                                                             UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
     A.K.A.(s) (if applicable):                                                                        Gender:
     Booking or Fed. Reg.#:                                                                            DOB:
     Facility Address:                                                                                 Race:
                                                                                                       FBI #:
     Facility Phone:
     Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)
